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              IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF TEXAS
                        DALLAS DIVISION

                                  §
                                  §             3:19-CR-00083-S
                                  §


                ENTRY OF APPEARANCE OF COUNSEL


COMES NOW, CAROLYN RENA DAVIS and notifies that Court that she is

represented by HEATH HARRIS whose information appears below.


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                                  Respectfully submitted,




                                  By: /S/Heath Harris
                                      Russell Wilson II
                                      State Bar No. 00794870
                                      Attorney for Carolyn Rena Davis




ENTRY OF APPEARANCE
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